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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION
____________________________________
                                     )
BITMAIN TECHNOLOGIES GEORGIA )
LIMITED,                             )
                                     )
      Plaintiff,                     )
                                     )
v.                                   ) Case No.: 4:24-cv-00927
                                     )
JWKJ TECHNOLOGIES LLC                )
                                     )
      Defendant.                     )
____________________________________)

                             TEMPORARY RESTRAINING ORDER

          Before the Court is the Motion for Temporary Restraining Order (the “Motion”) filed by the

Plaintiff, Bitmain Technologies Georgia Limited (“Bitmain”), requesting this Court to enter a

temporary restraining order prohibiting and enjoining the Defendant JWKJ Technologies LLC

(“JWKJ”) from (i) preventing Bitmain from entering JWKJ’s facility located at 4350 Semple Avenue,

St. Louis, MO 63210 (the “Data Center Facility”) for the purpose of removing 3,407 of Bitmain’s

bitcoin mining servers (the “Hosted Servers”); (ii) continuing to use the Hosted Servers to mine

bitcoin while the computational power for the Hosted Servers is directed to a mining pool with

rewards for JWKJ or any affiliated entity; (iii) selling or otherwise disposing of the Hosted Servers;

and (iv) selling or otherwise disposing of any bitcoin JWKJ mined while the computational power

for the Hosted Servers was directed to a mining pool with rewards for JWKJ or any affiliated

entity.

          After considering the Motion and Memorandum in Support, the supporting Declaration of

Zheng Shang, Plaintiff Bitmain’s Complaint for Declaratory Judgment, Damages, and Injunctive
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Relief (the “Complaint”), the relevant legal authorities, the documents and pleadings on file, and the

arguments of counsel, the Court has determined:

   1. If JWKJ is not restrained, enjoined, and prohibited from preventing Bitmain from entering

       the Data Center Facility for the purpose of removing the Hosted Servers, Bitmain’s Hosted

       Servers will be irreparably injured.

   2. If JWKJ is not restrained, enjoined, and prohibited from selling or otherwise disposing of the

       Hosted Servers, Bitmain’s Hosted Servers will be irreparably injured.

   3. If JWKJ is not restrained, enjoined, and prohibited from preventing Bitmain from entering

       the Data Center Facility for the purpose of removing the Hosted Servers and from continuing

       to use Bitmain’s Hosted Servers to mine bitcoin while the computational power for the Hosted

       Servers is directed to a mining pool with rewards for JWKJ or any affiliated entity, Bitmain

       will be irreparably injured by a significant disruption to Bitmain’s business operations leading

       to losses that are impractical to calculate and that cannot be adequately remedied at trial.

   4. If JWKJ is not restrained, enjoined, and prohibited from selling or otherwise disposing of any

       bitcoin JWKJ mined while the computational power for the Hosted Servers was directed to a

       mining pool with rewards for JWKJ or any affiliated entity, Bitmain will be irreparably injured

       by suffering losses that cannot be adequately remedied at trial.

   5. The status quo should be maintained, and it is necessary to issue this Temporary Restraining

       Order against JWKJ to preserve the status quo between the parties prior to the hearing on

       Bitmain’s Motion for Temporary Injunction.

   6. It is necessary to issue this Temporary Restraining Order against JWKJ to prevent imminent

       and irreparable harm to Bitmain.

   7. This Temporary Restraining Order will not disserve the public interest.



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 8. This Temporary Restraining Order will prevent actual or threatened misappropriation under

    the Missouri Uniform Trade Secrets Act.

    IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED as follows:

 A. JWKJ and its officers, agents, servants, employees, and attorneys, and those persons in

    active concert or participation with them who receive actual notice of this Temporary

    Restraining Order by personal service or otherwise, are restrained, enjoined, and prohibited

    from the following:

       i.   preventing Bitmain from entering JWKJ’s facility located at located at 4350 Semple

            Avenue, St. Louis, MO 63210 (the “Data Center Facility”) for the purpose of

            removing 3,407 of Bitmain bitcoin mining servers (the “Hosted Servers”);

      ii.   continuing to use the Hosted Servers to mine bitcoin while the computational power

            for the Hosted Servers is directed to a mining pool with rewards for JWKJ or any

            affiliated entity;

     iii.   from selling or otherwise disposing of the Hosted Servers; and

      iv.   selling or otherwise disposing of any bitcoin JWKJ mined while the computational

            power for the Hosted Servers was directed to a mining pool with rewards for JWKJ

            or any affiliated entity.

 B. This Temporary Restraining Order is binding on the parties to the action, and their officers,

    agents, servants, employees, and attorneys, and those persons in active concert or

    participation with them who receive actual notice of this Temporary Restraining Order by

    personal service or otherwise;

 C. A hearing on Plaintiff’s Motion for Temporary Injunction shall take place on July ___,

    2024 at _______ _.m.;



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   D. Bitmain must post a bond in the amount of $___________ conditioned and approved as

      required by law; and

   E. This Temporary Restraining Order will expire at _______ _.m. on _________ ___, 2024.

IT IS SO ORDERED.



SIGNED this ______ day of July, 2024, at _______ _.m.




                                         _________________________________________
                                         UNITED STATES DISTRICT COURT JUDGE




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